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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


    JOHN R. ANDREWS, et al.,
                                            HONORABLE JEROME B. SIMANDLE
                      Plaintiffs,

          v.                                         Civil Action
                                                 No. 1:95-1047 (JBS)
    GREGORY HOLLOWAY a/k/a GREG
    HOLLOWAY, et al.,
                                             MEMORANDUM OPINION & ORDER
                      Defendants.


	
	
SIMANDLE, District Judge:

        This matter is before the Court on Defendant Gregory Holloway’s

Motion [Docket Item 570] for an Order vacating the Order for Civil

Arrest of March 12, 2009 and accompanying Arrest Warrant [Docket Items

549 & 550]. After the filing of the Motion, Louis N. Larsen (the

personal representative of the estate of one of the Judgment

Creditor/Plaintiffs, Louis F. Larsen (deceased)), submitted a letter

to the Court requesting an enlargement of time in which to submit a

response in opposition. [Docket Item 572.] The Court subsequently

granted such request [Docket Item 573] and stated that “the time for

all Plaintiffs’ responses will hereby be enlarged to December 22,

2017, for each Plaintiff which has been duly served with notice of

Defendant[’s] motion[.]” Id. The Court hereby finds as follows:

     1. The docket does not reflect the filing of any further opposition

papers by Mr. Larsen or any other Plaintiff.


	
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     2. Defendant’s motion is premised on the position that the initial

judgment against him: expired on June 21, 2017, having been entered

twenty (20) years before on June 20, 1997 as a result of a settlement

agreement [Docket Item 371]; was not renewed before the expiration of

such judgment by any Judgment-Creditor/Plaintiff; and accordingly can

no longer serve as the basis for any charge of civil contempt based on

the failure to abide by the Court’s order of 2008 regarding

Defendant’s obligation to testify truthfully and non-evasively about

relevant financial information, nor for any arrest warrant for such a

charge (citing Andrews v. Roadway Express, Inc., 473 F.3d 565 (5th

Cir. 2006), in support).

     3. “To enforce a judgment, judgment creditors must file a writ of

execution in accordance with the ‘practice and procedure of the state

in which the district court is held.’ Fed. R. Civ. P. 69(a)[(1)]. Time

limits for writs of execution are procedural in nature and are

governed by state law.” Andrews, 473 F.3d at 568 (internal notes and

citations omitted).

     4. Whether jurisdiction in this case was premised on diversity of

citizenship or federal question, the time period within which the

Judgment Creditors could have enforced the judgment was twenty years.

See Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938) and N.J.S.A. Sec

2A:14-5 (“A judgment in any court of record in this state may be

revived by proper proceedings or an action at law may be commenced

thereon within 20 years next after the date thereof, but not


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thereafter.”); 28 U.S.C. Sec 3201(c) (“(1) Except as provided in

paragraph (2), a lien created under subsection (a) is effective,

unless satisfied, for a period of 20 years. (2) Such lien may be

renewed for one additional period of 20 years upon filing a notice of

renewal in the same manner as the judgment is filed and shall relate

back to the date the judgment is filed if-- (A) the notice of renewal

is filed before the expiration of the 20-year period to prevent the

expiration of the lien; and (B) the court approves the renewal of such

lien under this paragraph.”).

     5. Mr. Larsen’s letter indicated that he intended to submit

arguments to the effect that the order for civil arrest should remain

in place because the “judgment may have been domesticated in other

jurisdictions” and because “a judgment debtor who has been held in

contempt should not have the ability to avail himself of the judgment

revival statute.” [Docket Item 572.] However, Mr. Larsen, to date, has

not submitted any additional argument as to these or any other points.

It appears that Mr. Larsen is attempting to invoke the doctrine of

equitable tolling arising from Defendant’s continuing violations of

post-judgment discovery obligations before and after entry of the

Court’s Memorandum Opinion and Order of March 12, 2009. [Docket Item

548.]

     6. The Court expresses no opinion on the merits of the substance of

Defendant’s motion. However, the Court notes that Defendant has not




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addressed the applicability of N.J.S.A. § 2A:14-22(a), “Nonresidency

of persons liable,” which states in relevant part:

     If (1) any person against whom there is any of the causes of
     action specified in sections 2A:14-1 to 2A:14-5 and 2A:14-8,
     or if any surety against whom there is a cause of action
     specified in any of the sections of article 2 of this chapter,
     is not a resident of this State when such cause of action
     accrues, or removes from this State after the accrual thereof
     and before the expiration of the times limited in said
     sections, . . . and (2) it appears by affidavit of plaintiff’s
     attorney or of any person having knowledge of the facts that,
     after diligent inquiry and effort, long-arm service cannot be
     effectuated, the time or times during which such person or
     surety is not residing within this state . . . shall not be
     computed as part of the periods of time within which such an
     action is required to be commenced by the section. The person
     entitled to any such action may commence the same after the
     accrual of the cause therefor, within the period of time
     limited therefor by said section, exclusive of such time or
     times of nonresidence or nonrepresentation.

See also Goglia v. Desa, No. L-1845-90, 2015 WL 3968699, at *2-*4

(N.J. Sup. Ct. App. Div. July 1, 2015)(remanded for trial court to

“make findings and conclusions as to whether the statute of

limitations should be tolled” or whether defendant should “be relieved

of the judgment because it is inequitable for the judgment to remain

considering the fact that it was unenforceable as the statute of

limitations had expired[,]” where plaintiff “submitted an affidavit to

the trial court detailing [defendant’s] movement out of state since

[plaintiff] obtained the judgment” “[t]o satisfy N.J.S.A. 2A:14-

22(a)[.]”).

     7. The Court’s previous order with regard to the instant Motion

stated that “Defendant shall have the burden of proving proper service



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of the motion upon each Plaintiff in due course.” [Docket Item 573 at

2.]

     8. The Court notes that no proof of service has been submitted by

Defendant Holloway since the Court’s order; all that has been received

and docketed is an item of returned mail addressed to Defendant Scott

Baker, which was returned as undeliverable with no forwarding address.

[Docket Item 574.]

     9. Accordingly, because Defendant has failed to carry his burden of

proving proper service of the motion upon each Judgment

Creditor/Plaintiff, Defendant’s Motion shall be, and hereby is DENIED

without prejudice. If Defendant elects to renew this motion, Defendant

shall (a) describe the efforts undertaken to effect proper service

upon each Plaintiff, and (b) address whether this Court’s contempt

order regarding Defendant’s non-compliance with prior orders for post-

judgment discovery equitably tolled the period for effectiveness and

enforcement of the judgment lien which the unsatisfied contempt order

was imposed to enforce.




July 2, 2018                                 s/ Jerome B. Simandle
     Date                                   JEROME B. SIMANDLE
                                            U.S. District Judge




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